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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

 IN RE:                                                           CASE NO. 15-52762-PWB

 MAHMOUD KARIM DIALLO,                                            CHAPTER 7

                 Debtor.

                           MOTION TO REOPEN CHAPTER 7 CASE

       COMES NOW Mahmoud Karim Diallo, Debtor in the above-styled Chapter 7 case, and
through counsel files this Motion to Reopen Chapter 7 Case, showing to this Honorable Court the
following:

                                                  1.

       This motion is brought pursuant to 11U.S.C. Section 350(b) and Rule 5010 of the Federal

Rules of Bankruptcy Procedure.

                                                  2.

       The above-styled Chapter 7 case was filed February 12, 2015. The case was closed and

Debtor received the discharge October 17, 2019.

                                                  3.

       North Mill Credit Trust formally known as EFS Credit Trust (“North Mill”) filed a Writ of

Fieri Facias in the Superior Court of Fulton County, Georgia with a Judgment date of March 27,

2014 and a Civil Action Number of 2013CV228293 with the Debtor and Debtor’s prior business,

Djallon Transportation LLC for the principal amount of $44,985.809. North Mill recently renewied

its lien on June 5, 2021. The debt with North Mill was incurred prior to the filing of the Chapter 7

case however, Debtor was unaware of the lien filed by North Mill until 2021 when the Creditor

renewed their lien. Debtor has been unsuccessfully attempting to have the lien removed with North

Mill. Debtor needs to reopen the case so he can add North Mill on his Schedule D and file a motion

to avoid lien. Debtor has paid the fees to reopen the case.
                                                  4.

       Debtor requests that the Court re-open case so that a motion to avoid lien may be filed.
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                                                   5.

       Debtor shows that the relief requested falls within the purposes contemplated within 11

U.S.C. Section 350(b).



       WHEREFORE, the Debtor requests that:

              (a)        this Motion be filed, read and considered;

              (b)        this Honorable Court grant this Motion and reopen the Chapter 7 Case;

              (c)        this Honorable Court grant such other and further relief as it may deem just

                         and proper.



                                            Respectfully submitted,
                                            /s/
         Clark & Washington, P.C.           Jessica Douglas GA Bar 340570
         3300 Northeast Expwy Bldg 3        Attorney for Debtor
         Atlanta, GA 30341
         Phone: 404-522-2222
         Fax: 770-220-0685
         Email: ecfnotices@cw13.com
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 IN RE:                                                           CASE NO. 15-52762-PWB

 MAHMOUD KARIM DIALLO,                                            CHAPTER 7

                Debtor.

          NOTICE OF HEARING ON MOTION TO REOPEN CHAPTER 7 CASE

       PLEASE TAKE NOTICE that the above-referenced Debtor filed a Motion to Reopen
Chapter 7 Case, seeking that the Court enter an order authorizing Debtor to reopen this case.
       PLEASE TAKE FURTHER NOTICE that the Court will hold an initial telephonic
hearing for announcements on the matter at the following number: 833-568-8864; access code
161 794 3084 at 10:00AM, on June 15, 2023 in Courtroom 1401 of the United States
Bankruptcy Court, 75 Ted Turner Drive, SW, Atlanta, GA, 30303.

       Matters that need to be heard further by the Court may be heard by telephone, by video
conference, or in person, either on the date set forth above or on some other day, all as
determined by the Court in connection with this initial telephonic hearing. Please review the
“Hearing Information” tab on the judge’s webpage, which can be found under the “Dial-in and
Virtual Bankruptcy Hearing Information” link at the top of the webpage for this Court,
www.ganb.uscourts.gov for more information.
       Your rights may be affected by the court’s ruling on these pleadings. You should read
these pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy
case. (If you do not have an attorney, you may wish to consult one.) If you do not want the court
to grant the relief sought in these pleadings or if you want the court to consider your views, then
you and/or your attorney must attend the hearing. You may also file a written response to the
pleading with the Clerk at the address stated below, but you are not required to do so. If you file
a written response, you must attach a certificate stating when, how and on whom (including
addresses) you served the response. Mail or deliver your response so that it is received by the
Clerk at least two business days before the hearing. The address of the Clerk's Office is Clerk,
United States Bankruptcy Court, Room 1340, 75 Ted Turner Drive, SW, Atlanta, GA, 30303.
You must also mail a copy of your response to the undersigned at the address stated below.
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                                     /s/
       Clark & Washington, P.C.      Jessica Douglas GA Bar 340570
       3300 Northeast Expwy Bldg 3   Attorney for Debtor
       Atlanta, GA 30341
       Phone: 404-522-2222
       Fax: 770-220-0685
       Email: ecfnotices@cw13.com
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                                CERTIFICATE OF SERVICE

       I, the undersigned, certify that I am over the age of 18 and that on this date I served a
copy of the foregoing Motion to Reopen Chapter 7 Case and Notice of Hearing on Motion to
Reopen Chapter 7 Case by first class U.S. Mail, with adequate postage prepaid on the following
persons or entities at the addresses stated:

Mahmoud Diallo
4469 Hazeltine Drive
Atlanta, GA 30349

S. Gregory Hays, Chapter 7 Trustee
Hays Financial Consulting, LLC
Suite 555
2964 Peachtree Road
Atlanta, GA 30305

North Mill Credit Trust
fka EFS Credit Trust
Reg Agent: BNY Mellon Trust of Delware
301 Bellevue Parkway 3rd Floor
Wilmington DE 19809-0000

       And, in the same manner, I served the parties listed in the attached matrix by mailing
copies of the foregoing Motion and Notice to the addresses indicated therein.


                                         Dated: 5/10/2023
                                         /s/
         Clark & Washington, P.C.        Jessica Douglas GA Bar 340570
         3300 Northeast Expwy Bldg 3     Attorney for Debtor
         Atlanta, GA 30341
         Phone: 404-522-2222
         Fax: 770-220-0685
         Email: ecfnotices@cw13.com
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Label Matrix for local noticing                ArnallDocument
                                                      Golden Gregory, LLP
                                                                       Page 6 of 7             Atlanta Title Loans
113E-1                                         171 17th Street NW                              5349 Riverdale Rd
Case 15-52762-pwb                              Suite 2100                                      Atlanta, GA 30349-5709
Northern District of Georgia                   Atlanta, GA 30363-1031
Atlanta
Tue May 2 16:25:39 EDT 2023
Michael J. Bargar                              Calvary Portfolio Services                      Capital 1 Bank
Arnall Golden Gregory, LLP                     Attention: Bankruptcy Department                Attn: General Correspondence
Suite 2100                                     500 Summit Lake Dr. Suite 400                   Po Box 30285
171 17th Street, N.W.                          Valhalla, NY 10595-2321                         Salt Lake City, UT 84130-0285
Atlanta, GA 30363-1031

Capital One Bank                               Capital One Bank (USA), N.A.                    (p)JPMORGAN CHASE BANK N A
c/o McCullough, Payne & Haan, LLC              PO Box 71083                                    BANKRUPTCY MAIL INTAKE TEAM
271 17th St. NW Ste 2200                       Charlotte, NC 28272-1083                        700 KANSAS LANE FLOOR 01
Atlanta, GA 30363-6213                                                                         MONROE LA 71203-4774


Citibank/The Home Depot                        Citifinancial                                   E. L. Clark
Citicorp Credit Srvs/Centralized Bankrup       Legal Dept/Bankruptcy                           Clark & Washington, LLC
Po Box 790040                                  PO Box 140609                                   Bldg. 3
Saint Louis, MO 63179-0040                     Irving, TX 75014-0609                           3300 Northeast Expwy.
                                                                                               Atlanta, GA 30341-3932

Dept Of Ed/sallie Ma                           Mahmoud Karim Diallo                            Enhanced Recovery Corp
Po Box 9635                                    4469 Hazeltine Drive                            Attention: Client Services
Wilkes Barre, PA 18773-9635                    Atlanta, GA 30349-3994                          8014 Bayberry Rd
                                                                                               Jacksonville, FL 32256-7412


GHFA Affordable Housing, Inc                   S. Gregory Hays                                 IRS
60 Executive Park South, NE                    Hays Financial Consulting, LLC                  401 W. Peachtree St., NW
Atlanta, Ga 30329-2229                         Suite 555                                       Stop #334-D
                                               2964 Peachtree Road                             Room 400
                                               Atlanta, GA 30305-4909                          Atlanta, GA 30308

(p)MCCALLA RAYMER LEIBERT PIERCE LLC           Brian K. Jordan                                 Midland Funding
ATTN ATTN WENDY REISS                          Aldridge Pite, LLP                              8875 Aero Dr Ste 200
1544 OLD ALABAMA ROAD                          Suite 500 - Fifteen Piedmont Center             San Diego, CA 92123-2255
ROSWELL GA 30076-2102                          3575 Piedmont Road, NE
                                               Atlanta, GA 30305-1636

Navient Solutions, LLC. on behalf of           North Mill Equipment Finance                    Office of the United States Trustee
Department of Education Loan Services          50 Washington Street                            362 Richard Russell Building
PO BOX 9635                                    10th Floor                                      75 Ted Turner Drive, SW
Wilkes-Barre, PA 18773-9635                    Norwalk, CT 06854-2751                          Atlanta, GA 30303-3315


Onyx Acceptance Corp/Capital One Auto Fi       T Mobile/T-Mobile USA Inc                       T Mobile/T-Mobile USA Inc
Capital One Auto Finance                       by American InfoSource LP as agent              by American InfoSource LP as agent
3905 N. Dallas Pkwy                            4515 N Santa Fe Ave                             PO Box 248848
Plano, TX 75093-7892                           Oklahoma City OK 73118-7901                     Oklahoma City, OK 73124-8848


R. Jeneane Treace                              U. S. Attorney                                  Usaa Fsb
Assistant United States Trustee                600 Richard B. Russell Bldg.                    10750 Mcdermott Fwy
362 Richard Russell Bldg.                      75 Spring Street, SW                            San Antonio, TX 78288-1600
75 Ted Turner Drive, SW                        Atlanta, GA 30303-3315
Atlanta, GA 30303-3315
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Usaa Savings Bank                                        Document     Page 7 of 7
Po Box 47504
San Antonio, TX 78265




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Chase Home Finance - Mtg                            A. Michelle Hart Ippoliti
Legal Dept/Bankruptcy                               McCalla Raymer Leibert Pierce, LLC
3415 Vision Dr.                                     1544 Old Alabama Road
Dept G7-PP                                          Roswell, GA 30076
Columbus, OH 43219-6009




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)JPMorgan Chase Bank, National Association        End of Label Matrix
                                                    Mailable recipients    30
                                                    Bypassed recipients     1
                                                    Total                  31
